
697 S.E.2d 333 (2010)
STATE
v.
Hasson Jamaal BACOTE.
No. 360A09.
Supreme Court of North Carolina.
April 22, 2010.
Malcolm Hunter, Jr., Appellate Defender, Jonathan E. Broun, Durham, for Hasson Jamaal Bacote.
Robert C. Montgomery, Special Deputy Attorney General, for State of NC.
The following order has been entered on the motion filed on the 21st of April 2010 by Defendant-Appellant for Extension of time to Prepare Trial Transcript:
"Motion Allowed by order of the Court in conference this the 22nd of April 2010." *334 Court reporter shall have up to and including the 6th day of May 2010 to prepare and deliver transcript to counsel.
